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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO. 15-CIV-60255-BLOOM

 ARTERRIA BERNAY MCCUTCHEON,

        Plaintiff,

 v.

 PREMIER RECOVERY GROUP, INC,

       Defendants.
 ___________________________________/

                     FINAL ORDER OF DISMISSAL WITH PREJUDICE

        THIS MATTER is before the Court upon the Plaintiff’s Notice of Dismissal with

 Prejudice, ECF No. [9]. The Court having considered the Notice, and being otherwise duly

 informed therein, it is hereby

        ORDERED AND ADJUDGED that the Notice ECF No. [9] is APPROVED AND

 ADOPTED, and the above-styled case is hereby DISMISSED WITH PREJUDICE pursuant

 to Fed. R. Civ. P. 41(a)(1(A)(i). The Court shall retain jurisdiction for the sole purpose of

 enforcing the terms of any settlement between the parties.      Each party is to bear its own

 attorneys’ fees and costs unless otherwise agreed. The Clerk is directed to CLOSE this matter.


        DONE AND ORDERED in Fort Lauderdale, Florida, this 19th day of May, 2015.




                                                    ____________________________________
                                                    BETH BLOOM
                                                    UNITED STATES DISTRICT JUDGE
 Copies to:
 Counsel of Record
